  Case: 4:10-cv-01577-JCH Doc. #: 14 Filed: 02/23/11 Page: 1 of 1 PageID #: 39




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


Rhett Linville                                       )
539 W. 2nd. St., Apt. 11-B                           )
Washington, MO 63090,                                )
                                                     )
                       Plaintiff,                    )
                                                     )      Case No. 4:10-cv-01577
vs.                                                  )
                                                     )
NCO Financial Systems, Inc.                          )
                                                     )
                                                     )
                                                     )
                       Defendant.                    )
                                        Notice of Dismissal

       It is hereby stipulated by and between plaintiff, Rhett Linville, and defendant, NCO

Financial Systems, Inc., that Plaintiff’s Complaint and all of Plaintiff’s claims and causes of action

arising herein be, and the same are, hereby dismissed with prejudice to plaintiff. The parties shall

bear their own court costs.

                                                  Respectfully submitted,


                                                  /s/ Steven R. White
                                                  _____________________________________
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